



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        John and Jane
          Doe &amp; South Carolina Department of Social Services, Respondents,
        v
        Kelly M. and
          Jeffrey L, Defendants,
        Of Whom Jeffrey
          L. is the Appellant.
        In the interest
          of a D.L., a minor child under the age of 18.
      
    
  


Appeal From Cherokee County
&nbsp;Brian M. Gibbons, Family Court Judge

Unpublished Opinion No. 2009-UP-049
  Submitted January 2, 2009  Filed January
15, 2009&nbsp;&nbsp;&nbsp; 

AFFIRMED


  
    
      
        Gary L. Compton, of Spartanburg, &nbsp;for Appellant.
        James Fletcher Thompson, of Spartanburg; Meredith Brooks Moss, of
          Gaffney, for Respondents.
        Usha Jefferies Bridges, of Gaffney, for Guardian Ad Litem.
      
    
  

PER CURIAM: Jeffrey
  L. appeals from the family courts order
  terminating his parental rights to his minor child.&nbsp; See S.C. Code Ann. § 20-7-1572 (Supp. 2007).[1]&nbsp;
  Upon a thorough review of the record and the family courts findings of fact
  and conclusions of law, pursuant to Ex Parte Cauthen, 291 S.C. 465, 354
  S.E.2d 381 (1987), we find no meritorious issues warrant briefing.&nbsp; Accordingly,
  we affirm the family courts ruling.
AFFIRMED.[2] 
WILLIAMS, PIEPER, and GEATHERS, JJ. concur.


[1] Effective June 16, 2008, the General Assembly amended
  the Code of Laws of South Carolina by adding Title 63, the South Carolina
  Childrens Code, and transferring all provisions of Title 20, Chapter 7 to
  Title 63.&nbsp; See Act No. 361, 2008 S.C. Acts 3623 (stating the transfer
  and reorganization of the code provisions in this act are technical . . . and
  are not intended to be substantive).&nbsp; Because Title 63 has not yet been bound,
all citations to the statute refer to Title 20.
[2] We decide this case without oral argument pursuant to
Rule 215, SCACR.

